                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 BRAHMAJOTHI VASDEVAN                      )
 MULUGU,                                   )
                                           )
                            Plaintiff,     )
                                           )
       v.                                  )              1:23-CV-957
                                           )
 DUKE UNIVERSITY SCHOOL OF                 )
 MEDICINE, et al.,                         )
                                           )
                            Defendants.    )

                                         ORDER

      The Memorandum Opinion and Recommendation of the United States Magistrate

Judge was filed in accordance with 28 U.S.C. § 636(b) and the Clerk served the

recommendation on the parties. No objections were filed. After consideration of the

record, the Court hereby adopts the Magistrate Judge’s Recommendation.

      It is ORDERED that the motions to compel arbitration or dismiss, Docs. 11, 30,

are DENIED. Defendants SHALL respond to the operative complaint within 14 days.

      This the 29th day of August, 2024.



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                                  UNITED STATES DISTRICT JUDGE




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